  Case 1:18-cv-00446-NT Document 9 Filed 06/06/19 Page 1 of 4             PageID #: 39




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

JUSTAN ADAMS,                      )
                                   )
       Plaintiff,                  )
                                   )
       v.                          )      1:18-cv-00446-NT
                                   )
PENOBSCOT COUNTY JAIL,             )
                                   )
       Defendant.                  )


             RECOMMENDED DECISION ON MOTION TO REOPEN
       This matter is before the Court on a filing of Plaintiff Justan Adams, which filing

the Court construed as a second motion to reopen the case. (ECF No. 8). As explained

below, following a review of the pleadings, and after consideration of the filing, I

recommend the Court deny Plaintiff’s motion.

                                       Background

       On October 19, 2018, Plaintiff filed this action against Defendant. (ECF No. 1.) On

November 8, 2018, following a review in accordance with 28 U.S.C. § 1915(a)(A), I

recommended the Court dismiss the matter. (ECF No. 2). The Court affirmed the Report

and Recommended Decision on December 7, 2019 (ECF No. 3), and Judgment entered on

the same date. (ECF No. 4).

                                       Discussion

       Federal Rule of Civil Procedure 60 governs the Court’s consideration of Plaintiff’s

request for relief from judgment. Rule 60(b) authorizes the Court to relieve a party from a

judgment on the grounds of “(1) mistake, inadvertence, surprise, or excusable neglect, (2)
    Case 1:18-cv-00446-NT Document 9 Filed 06/06/19 Page 2 of 4                           PageID #: 40




newly discovered evidence that, with reasonable diligence, could not have been discovered

in time to move for a new trial under Rule 59(b), (3) fraud (whether previously called

intrinsic or extrinsic), misrepresentation, or misconduct by an opposing party, (4) the

judgment is void, (5) the judgment has been satisfied; it is based on an earlier judgment

that has been reversed or vacated; or applying it prospectively is no longer equitable; or (6)

any other reason that justifies relief.” A party must file the motion within a reasonable

time, and for grounds 1 through 3, the party must file the motion within one year of the

judgment. Fed. R. Civ. P. 60(c)(1).

        Plaintiff has not asserted facts that could reasonably be construed as a mistake,

newly discovered evidence, or fraud as grounds for relief. In addition, Plaintiff has not

argued that the Judgment is void, that the Judgment has been satisfied, or that a related

judgment has been reversed or vacated. Finally, Plaintiff’s contentions do not constitute

any “other reason that justifies relief.”1 Plaintiff, therefore, has not asserted grounds for

which relief from judgment is available.

        As Plaintiff’s filing reflects, Plaintiff has recently filed a number of documents in

connection with dismissed cases. (ECF Nos. 8-1 – 8-6.) In addition, within the last two

years, the Court has dismissed three other cases in which Plaintiff has filed motions to




1
 Examples of “other” reasons justifying relief under Rule 60(b)(6) include “settlement agreements when
one party fails to comply,” “fraud by the party’s own counsel, by a codefendant, or by a third-party witness,”
and, most commonly, failure of the losing party “to receive notice of the entry of judgment in time to file
an appeal.” 11 Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice & Procedure
Civ. § 2864 (3d ed. 2012).


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    Case 1:18-cv-00446-NT Document 9 Filed 06/06/19 Page 3 of 4                          PageID #: 41




reopen,2 and within the last ten years the Court has dismissed or entered summary judgment

against Plaintiff in more than ten other cases.3 None of Plaintiff’s motions to reopen have

merit. Given Plaintiff’s many filings that lack merit, an order informing Plaintiff that filing

restrictions “may be in the offing” in accordance with Cok v. Family Court of Rhode Island,

985 F.2d 32, 35 (1st Cir. 1993) is warranted.

                                               Conclusion

        Based on the foregoing analysis, I recommend the Court deny Plaintiff’s second

motion to reopen the case. I also recommend the Court issue an order informing Plaintiff

that filing restrictions “may be in the offing” in accordance with Cok v. Family Court of

Rhode Island, 985 F.2d 32, 35 (1st Cir. 1993).



                                                NOTICE

            A party may file objections to those specified portions of a magistrate
        judge’s report or proposed findings or recommended decisions entered
        pursuant to 28 U.S.C. § 636(b)(1)(B) for which de novo review by the district
        court is sought, together with a supporting memorandum within fourteen (14)
        days of being served with a copy thereof. A responsive memorandum shall
        be filed within fourteen (14) days after the filing of the objection.



2
 The other cases consist of Justan Adams v. Randy Adams, et al., 1:17-cv-00200-GZS; Justan Adams v.
Poland Spring Water Co., 2:17-cv-00355-DBH; and, Justan Adams v. Eastern Maine Hospital, et al., 1:19-
cv-00030-GZS.
3
 Plaintiff has filed and the Court has dismissed the following cases: Justan Adams v. State of Maine, et al.,
1:09-cv-00304-JAW; Justan Adams v. State of Maine, 1:10-cv-00082-JAW; Justan Adams v. Penobscot
County Jail Officer, et al., 1:12-cv-00219-NT; Justan Adams v. David Miller, et al., 1:13-cv-00413-JAW;
Justan Adams v. State of Maine, 1:14-cv-00043-JAW; Justan Adams v. Dennis Townstead, et al., 1:14-cv-
00049-JAW; Justan Adams v. Valerie Bragg, 1:14-cv-00063-JAW; Justan Adams v. State of Maine Society
Office, et al., 1:14-cv-00064-JAW; Justan Adams v. State of Maine Co Workers, et al., 1:14-cv-00072-
JAW; Justan Adams v. Randy Adams, et al., 1:17-cv-00200-GZS; Justan Adams v. Penobscot County Jail,
1:18-cv-00446-NT; and Justan Adams v. Eastern Maine Hospital, et al., 1:19-cv-00030-GZS.

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  Case 1:18-cv-00446-NT Document 9 Filed 06/06/19 Page 4 of 4               PageID #: 42




          Failure to file a timely objection shall constitute a waiver of the right to
       de novo review by the district court and to appeal the district court’s order.

                                          /s/ John C. Nivison
                                          U.S. Magistrate Judge

Dated this 6th day of June, 2019.




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